










					 







In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00851-CR

____________


ALFREDO ESTRADA, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 208th District Court

Harris County, Texas

Trial Court Cause No. 899155






MEMORANDUM  OPINION

	Appellant pleaded guilty to aggravated robbery, and, in accordance with a
plea bargain agreement with the State, was sentenced to confinement for 15 years. 
Appellant timely filed a general notice of appeal.  We dismiss the appeal for lack of
jurisdiction.

	When a defendant in a criminal case pleads guilty or no contest after having
reached a plea bargain agreement with the State, and the trial judge sentences the
defendant in accordance with the plea bargain agreement, the notice of appeal must
comply with Rule 25.2(b)(3) of the Texas Rules of Appellate Procedure.  The rule
states that, in such a case, "the notice must: (A) specify that the appeal is for a
jurisdictional defect; (B) specify that the substance of the appeal was raised by
written motion and ruled on before trial; or (C) state that the trial court granted
permission to appeal."  Tex. R. App. P. 25.2(b)(3).

	If the notice of appeal does not meet the rule's requirements, the appellate
court does not have jurisdiction over the appeal.  See White v. State, 61 S.W.3d 424,
429 (Tex. Crim. App. 2001) (holding general notice of appeal in plea-bargained case
did not invoke jurisdiction of appellate court to consider jurisdictional defects); Davis
v. State, 870 S.W.2d 43, 46 (Tex. Crim. App. 1994) (holding general notice of appeal
in plea-bargained case failed to confer jurisdiction to review trial court's ruling on
pretrial suppression motion under former Rule 40(b)(1), predecessor to Rule
25.2(b)(3)).

	Appellant filed a general notice of appeal that did not comply with the
requirements of Rule 25.2(b)(3) in that it did not state that the appeal was for a
jurisdictional defect, that the substance of the appeal was raised by written motion
and ruled on before trial, or that the trial court granted permission to appeal. 
Appellant may not now file an amended notice of appeal to correct jurisdictional
defects because the time for filing notice of appeal has expired.  State v. Riewe, 13
S.W.3d 408, 413-14 (Tex. Crim. App. 2000).

	We also note that appellant's written waiver of his right to appeal was
effective because the trial court followed the plea bargain agreement.  See Buck v.
State, 45 S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Taft, Alcala, and Price. (1)

Do not publish.   Tex. R. App. P. 47.
1.    	The Honorable Frank C. Price, former Justice, Court of Appeals, First District
of Texas at Houston, participating by assignment.


